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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
        v.                                         ) CRIM. CASE NO. 1:21-cr-362-ECM
                                                   )
WILLIE FRANK HARVIS                                )

                       MEMORANDUM OPINION and ORDER

        Now pending before the court is Defendant Willie Frank Harvis’ unopposed motion

to continue trial (doc. 18) filed on December 2, 2021. Jury selection and trial are presently

set on the term of court commencing on January 4, 2022. For the reasons set forth below,

the court will grant a continuance of the trial pursuant to 18 U.S.C. § 3161(h)(7).

        While the trial judge enjoys great discretion when determining whether to grant a

continuance, the court is limited by the requirements of the Speedy Trial Act. 18 U.S.C. §

3161; United States v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986). The Act provides in

part:

        “In any case in which a plea of not guilty is entered, the trial of a defendant
        charged in an information or indictment with the commission of an offense
        shall commence within seventy days from the filing date (and making public)
        of the information or indictment, or from the date the defendant has appeared
        before a judicial officer of the court in which such charge is pending,
        whichever date last occurs.”

18 U.S.C. § 3161(c)(1).

        The Act excludes, however, certain delays from the seventy-day period, including

delays based on “findings that the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a speedy trial.” 18 U.S.C. §
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3161(h)(7)(A). In determining whether to grant a continuance under § 3161(h)(7), the

court “shall consider,” among other factors, whether denial of a continuance would likely

“result in a miscarriage of justice,” or “would deny counsel for the defendant . . . the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.” § 3161(h)(7)(B)(i), (iv).

       Counsel for the Defendant represents to the Court that she is seeking medical

records that may impact plea negotiations and additional time is necessary to seek a

resolution that would obviate the need for a trial. The United States does not oppose a

continuance. After careful consideration, the Court finds that the ends of justice served

by granting a continuance of this trial outweigh the best interest of the public and the

Defendant in a speedy trial. Thus, for good cause, it is

       ORDERED that the motion to continue (doc. 18) is GRANTED, and jury selection

and trial are CONTINUED from January 4, 2022 to the criminal term of court set to

commence on April 18, 2022 at 10:00 a.m. in Dothan, Alabama. All deadlines tied to the

trial date are adjusted accordingly.

       The United States Magistrate Judge shall conduct a pretrial conference prior to the

April trial term.

       Done this 3rd day of December, 2021.

                                               /s/Emily C. Marks
                                       EMILY C. MARKS
                                       CHIEF UNITED STATES DISTRICT JUDGE
